      Case: 1:19-cv-02581 Document #: 42 Filed: 07/28/19 Page 1 of 2 PageID #:1307




Anti-Age Technologies, LLC                      )
                                                )
v.                                              )      Case No. 19-cv-2581
                                                )
THE PARTNERSHIPS and                            )      Judge: Hon. Manish S. Shah
UNINCORPORATED ASSOCIATIONS                     )
IDENTIFIED ON SCHEDULE “A,”                     )      Magistrate: Hon. Sunil R. Harjani
                                                )
                                                )


                                         Voluntary Dismissal

           Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned

counsel for plaintiff hereby notify this Court that the plaintiff, Anti-Age Technologies,

voluntarily dismiss any and all claims against defendants without prejudice:

 Doe       Store Name                Store ID
     179   zhaohaofeng               584833b3582efa13144a8364
     121   kinger                    5638f64ffc2b6466bd2db281
     122   hotsummer                 563e1dbb2e96622479e38e64
     322   xujuanshan                59828fa29fbc51500e74b8fe
     323   huhuxiao                  59840ce68ee78d74e3d4d368
     239   kennethewan999            58d8ec65ebdcec52c62e7a27
     207   jfbestfashion             58b35bb1e678e0505f516d8d
     209   glninecoltd               58b4f4e4b9a8c0505b342b14
     216   doublehmountain           58bce9d7dbe2ab504eb1835b
     217   guangfengclothesfashion   58be08b76e114a50e810a34c



Dated: July 28, 2019
                                                Respectfully submitted,



                                                By:     s/David Gulbransen/
                                                       David Gulbransen
                                                       Attorney of Record

                                                       David Gulbransen (#6296646)
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                                                       805 Lake Street, Suite 172
Case: 1:19-cv-02581 Document #: 42 Filed: 07/28/19 Page 2 of 2 PageID #:1307




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